               IN THE UNITED STATES DISTRICT COURT FOR THE
                    MIDDLE DISTRICT OF NORTH CAROLINA


 United States of America,
                                                   No. 12-cv-1349
                       Plaintiff;
          v.                                       UNITED STATES’ REPLY IN
                                                   SUPPORT OF ITS MOTION TO STAY
 Terry Johnson, in his official capacity as        THE MAGISTRATE’S JULY 30, 2013,
 Alamance County Sheriff,                          ORDER
                       Defendant.




      UNITED STATES’ REPLY IN SUPPORT OF ITS MOTION TO STAY

       The United States filed a timely Motion to Stay, ECF No. 37, the Magistrate’s July

30, 2013, Order, ECF No. 34, pending the resolution of the United States’ Motion for

Reconsideration, ECF No. 36. The July 30th Order granted Defendant’s Motion to

Compel, ECF No. 23, instructing the United States to provide responses to three of

Defendant’s interrogatories, over the United States’ contention that the confidential

informant privilege protects that information. A stay is necessary to protect the

confidentiality of the United States’ informants while the Motion for Reconsideration is

pending and to preserve the District Court’s ability to provide meaningful relief on that

Motion.

       Defendant’s Opposition to the United States’ Motion to Stay argues chiefly that a

stay would prejudice his case preparation. ECF No. 43. Specifically, Defendant argues

that if a stay were granted, and he was therefore not immediately given the names of the

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United States’ confidential informants, it “would have the effect of preventing discovery

on the issues which are the subject of the Motion to Compel.” ECF No. 43, at 5. To the

contrary, a stay will not prejudice Defendant’s case preparation, as the United States has

repeatedly pledged that it will not rely on the informants sought by Defendant’s

interrogatories unless Defendant has an opportunity to take their depositions, regardless

of whether the October 4, 2013, fact discovery deadline in this case has passed. See ECF

No. 36, at 2; ECF No. 50, at 1, 7. Therefore, a stay will have no impact on Defendant’s

ability to prepare for the evidence that the United States will present at trial.

       For the foregoing reasons, the United States respectfully asks the Magistrate to

stay its July 30, 2013, Order pending the District Court’s review.



       Respectfully submitted,



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                            CERTIFICATE OF SERVICE

       I certify that the foregoing United States’ Reply in Support of Its Motion to Stay
was served through the electronic filing service on September 24, 2013, to the following
individual:

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